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                  EXHIBIT A
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dŽ͗ĚĐĂŵƉďĞůůΛĚŚĚŐĐůĂǁ͘ĐŽŵ͖ďƌǇĂŶΛďũŽŶĞƐůĞŐĂů͘ĐŽŵ͖ũĞŬϯϭϴΛŐŵĂŝů͘ĐŽŵ͖ĚŝŶƵĐĐŝůĂǁΛŽƵƚůŽŽŬ͘ĐŽŵ͖
ƌĞďƌŽŽŬůĂǁΛŐŵĂŝů͘ĐŽŵ͖ŵĂƚƚŚĞǁ͘ǁ͘ŚĞŝŵďĂĐŚΛŐŵĂŝů͘ĐŽŵ͖ĚŝůůŽŶͺŚŽƉƉĞƌΛƉƌŽƚŽŶŵĂŝů͘ĐŽŵ͖
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Đ͗:ĞƐƐŝĐĂWŚŝůůŝƉƐфũƉŚŝůůŝƉƐΛďƐĨůůƉ͘ĐŽŵх͖>ĞǀŝŶĞ͕ůĂŶфĂůĞǀŝŶĞΛĐŽŽůĞǇ͘ĐŽŵх
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tĞĂƌĞŚŽƉŝŶŐƚŽƐĐŚĞĚƵůĞĂĐĂůůƚŚŝƐǁĞĞŬƚŽĚŝƐĐƵƐƐƐĐŚĞĚƵůŝŶŐĚĞƉŽƐŝƚŝŽŶƐ͘/ǁŽƵůĚƉƌŽƉŽƐĞtĞĚŶĞƐĚĂǇ͕DĂǇϯĂƚϭ͗ϬϬ
Ɖŵ͘WůĞĂƐĞůĞƚŵĞŬŶŽǁĂƐƐŽŽŶĂƐƉŽƐƐŝďůĞŝĨƚŚĂƚƚŝŵĞǁŽƌŬƐĨŽƌǇŽƵ͘dŚĂŶŬƐ͘
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WŚŝůůŝƉƐфũƉŚŝůůŝƉƐΛďƐĨůůƉ͘ĐŽŵх͖ZŽďĞƌƚĂ<ĂƉůĂŶфƌŬĂƉůĂŶΛŬĂƉůĂŶŚĞĐŬĞƌ͘ĐŽŵх͖ŬĚƵŶŶΛ^&>>W͘ĐŽŵ͖:ƵůŝĞ&ŝŶŬ
фũĨŝŶŬΛŬĂƉůĂŶŚĞĐŬĞƌ͘ĐŽŵх͖'ĂďƌŝĞůůĞ͘dĞŶǌĞƌфŐƚĞŶǌĞƌΛŬĂƉůĂŶŚĞĐŬĞƌ͘ĐŽŵх͖>ĞǀŝŶĞ͕ůĂŶфĂůĞǀŝŶĞΛĐŽŽůĞǇ͘ĐŽŵх͖
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,DPZULWLQJWRPHPRULDOL]HWKHSRLQWVRIDJUHHPHQWZHUHDFKHGRQWRGD\¶VFDOO$OODUHLQDJUHHPHQWWRZRUN
WRZDUGPDLQWDLQLQJRXUFXUUHQWWULDOGDWHRI2FWREHUDQGDOOLQWHULPGHDGOLQHV7RWKDWHQG
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        GLVFRYHU\SHULRG DIWHUPDNLQJDJRRGIDLWKHIIRUWWRGRVR PD\EHGHSRVHGDIWHUWKH-XO\
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        GHSRVHXSWRWKLUGSDUWLHV
/HWPHNQRZLI,KDYHPLVVWDWHGDQ\RIWKHDERYHLQDQ\ZD\)RUERWKGHIHQVHFRXQVHODQGSURVH'HIHQGDQWV
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DFFHVVWRDIXQFWLRQLQJFRPSXWHUZLWKDYLGHRFDPHUDDQGEURDGEDQGLQWHUQHWFRQQHFWLRQ:HZLOOFRQILUPWKH
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